            Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 1 of 46




 1                                                         THE HONORABLE THOMAS S. ZILLY

 2

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 4

 5
                                    U.S. DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
 7   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
 8                                                       NO. 2:17-cv-01731-TSZ
 9                             Plaintiff,
                                                         DECLARATION OF J. CURTIS
                                                         EDMONDSON IN SUPPORT OF
10          vs.
                                                         DEFENDANT’S RENEWED MOTION
11                                                       TO COMPEL PRODUCTION OF
     JOHN DOE, subscriber assigned IP
                                                         SOFTWARE OR EXCLUDE EXPERT
     address 73.225.38.130,
12                                                       AND LAY TESTIMONY WHICH
                               Defendant.                DEPENDS ON ITS RELIABILITY
13

14
     JOHN DOE subscriber assigned IP
15   address 73.225.38.130,

16                             Counterclaimant,
17
            vs.
18
     STRIKE 3 HOLDINGS, LLC,
19
                               Counterdefendant.
20

21

22

23          I, J. Curtis Edmondson, hereby declare the following:
24          1.      I am counsel of record in this case. I am a member of the bar of this Court and a
25   member of the Patent Bar. I have personal knowledge of the facts set forth in this declaration
26   and could testify competently to them if called upon to do so.
27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S RENEWED MOTION TO
     COMPEL PRODUCTION OF SOFTWARE OR EXCLUDE
     EXPERT AND LAY TESTIMONY WHICH DEPENDS ON
     ITS RELIABILITY - 1
     CASE NO. 2:17-CV-01731-TSZ
            Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 2 of 46




 1           2.      Attached as Exhibit 1 is a true and correct copy of the Subpoena served on
 2   Lincoln Bandlow, counsel for Strike 3 Holdings, LLC.
 3           3.      Attached as Exhibit 2 is a copy of the two orders entered by Judge Acosta in the
 4   District of Oregon regarding the software produced by Maveverickeye in the case of Dallas
 5   Buyers Club, LLC vs. Huszar.
 6           4.      Attached as Exhibit 3 is a copy of my June 20, 2019, email correspondence
 7   chain with Chris Austin, counsel for IPP. I did not get a modified protective order from IPP
 8   nor an assurance that the Source Code would be produced.
 9           5.      It will take some time for Dr. Toth to analyze the code. In the Dallas Buyers
10   Club case the code has been analyzed.      In the event the code is significantly different from
11   the code produced in the Dallas Buyers Club, analysis of the code it will take more time.
12           6.      I have attempted to get a stipulation from Plaintiff’s Counsel that the code in this
13   case is the same as the code used in the Dallas Buyers Club case. Plaintiff’s counsel is
14   unwilling to stipulate one way or the other.
15           7.      I have been unable to locate any user manuals or product specifications for IPP
16   Software products.
17           I declare under penalty of perjury under the laws of the United States that the foregoing
18   is true and correct.
19           EXECUTED this 20th day of June, 2019, at Hillsboro, Oregon.
20

21                                                     /s/ J. Curtis Edmondson, WSBA #43795
                                                     J. Curtis Edmondson, WSBA #43795
22

23

24

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26
27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S RENEWED MOTION TO
     COMPEL PRODUCTION OF SOFTWARE OR EXCLUDE
     EXPERT AND LAY TESTIMONY WHICH DEPENDS ON
     ITS RELIABILITY - 2
     CASE NO. 2:17-CV-01731-TSZ
            Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 3 of 46




 1                                    CERTIFICATE OF SERVICE

 2   I, J. Curtis Edmondson, hereby certify that on June 20, 2019, I electronically filed the foregoing

 3   with the Clerk of the Court using the CM/ECF system which will send notification of such
 4   filing to the following:
 5
                    Lincoln D. Bandlow, Admitted Pro Hac Vice
 6                  Email: lincoln@bandlowlaw.com
                    LAW OFFICES OF LINCOLN BANDLOW, P.C.
 7                  1801 Century Park East, Suite 2400
                    Los Angeles, California 90067
 8
                    Telephone: (310) 556-9580
 9                  Facsimile: (310) 861-5550

10                  John C. Atkin, Admitted Pro Hac Vice
                    Email: jatkin@atkinfirm.com
11                  THE ATKIN FIRM, LLC
                    55 Madison Avenue, Suite 400
12
                    Morristown, New Jersey 07960
13                  Telephone: (973) 285-3239

14                  Jeremy E. Roller, WSBA #32021
                    Email: jroller@aretelaw.com
15                  ARETE LAW GROUP PLLC
                    1218 Third Avenue, Suite 2100
16
                    Seattle, Washington 98101
17                  Telephone: (206) 428-3250
                    Facsimile: (206) 428-3251
18
                    Attorneys for Plaintiff
19

20                  Joshua L. Turnham, WSBA #49926
                    E-mail: joshua@turnhamlaw.com
21                  THE LAW OFFICE OF JOSHUA L. TURNHAM PLLC
                    1001 4th Avenue, Suite 3200
22                  Seattle, Washington 98154
                    Telephone: (206) 395-9267
23                  Facsimile: (206) 905-2996
24
                    Attorneys for Non-Party John Doe’s Son
25

26
27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S RENEWED MOTION TO
     COMPEL PRODUCTION OF SOFTWARE OR EXCLUDE
     EXPERT AND LAY TESTIMONY WHICH DEPENDS ON
     ITS RELIABILITY - 3
     CASE NO. 2:17-CV-01731-TSZ
          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 4 of 46




 1              F. Christopher Austin, Admitted Pro Hac Vice
                Email: caustin@weidemiller.com
 2              Allen Gregory Gibbs, Admitted Pro Hac Vice
                Email: ggibbs@weidemiller.com
 3              WEIDE & MILLER, LTD.
                10655 Park Run Drive, Suite 100
 4
                Las Vegas, Nevada 89144
 5              Telephone: (702) 382-4804

 6              Derek A. Newman, WSBA #26967
                Email: dn@newmanlaw.com
 7              Rachel Horvitz, WSBA #52987
 8              Email: rachel@newmanlaw.com
                NEWMAN DU WORS LLP
 9              2101 4th Avenue, Suite 1500
                Seattle, Washington 98121
10              Telephone: (206) 274-2800
                Facsimile: (206) 274-2801
11

12              Attorneys for Attorneys for Third-Party Witnesses Tobias Fieser, IPP
                International UG, Bunting Digital Forensics, LLC, Stephen M. Bunting
13

14        DATED this 20th day of June, 2019.

15                                        EDMONDSON IP LAW
16

17                                        By: /s/ J. Curtis Edmondson, WSBA #43795
                                            J. Curtis Edmondson, WSBA #43795
18                                          Email: jcedmondson@edmolaw.com
                                            399 NE John Olsen Avenue
19                                          Hillsboro, Oregon 97124
                                            Telephone: (503) 336-3749
20

21                                        Attorneys for Defendant

22

23

24

25

26
27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S RENEWED MOTION TO
     COMPEL PRODUCTION OF SOFTWARE OR EXCLUDE
     EXPERT AND LAY TESTIMONY WHICH DEPENDS ON
     ITS RELIABILITY - 4
     CASE NO. 2:17-CV-01731-TSZ
          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 5 of 46




 1

 2
                          EXHIBIT 1
 3
     Subpoena served on Lincoln Bandlow, counsel for Strike
 4                     3 Holdings, LLC
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27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S RENEWED MOTION TO
     COMPEL PRODUCTION OF SOFTWARE OR EXCLUDE
     EXPERT AND LAY TESTIMONY WHICH DEPENDS ON
     ITS RELIABILITY - 5
     CASE NO. 2:17-CV-01731-TSZ
           Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 6 of 46




 1                                                       THE HONORABLE THOMAS S. ZILLY

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 4

 5
                                   U.S. DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
 7   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
 8                                                     NO. 2:17-cv-01731-TSZ
 9                            Plaintiff,
                                                       NOTICE OF INTENT TO SERVE
                                                       SUBPOENA
10          vs.
11   JOHN DOE, subscriber assigned IP
12   address 73.225.38.130,

13                            Defendant.

14
     JOHN DOE subscriber assigned IP
15   address 73.225.38.130,
16                            Counterclaimant,
17
            vs.
18
     STRIKE 3 HOLDINGS, LLC,
19
                              Counterdefendant.
20

21

22

23   TO:    ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

24          PLEASE TAKE NOTICE THAT pursuant to Rule 45 of the Federal Rules of Civil
25   Procedure, Defendant JOHN DOE subscriber assigned IP address 73.225.38.130, in the above-
26   captioned action, demand by subpoena, a copy of which is attached hereto, the production of
27


                                                                  TERRELL MARSHALL LAW GROUP PLLC
     NOTICE OF INTENT TO SERVE SUBPOENA - 1                              936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                         Seattle, Washington 98103-8869
                                                                      TEL. 206.816.6603  FAX 206.319.5450
                                                                             www.terrellmarshall.com
            Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 7 of 46




 1   documents from IPP International UG. You are being provided with a copy of the attached
 2   subpoena before it is served pursuant to Rule 45(a)(4).
 3          PLEASE TAKE FURTHER NOTICE that IPP International UG is a non-party to the
 4   action. So far as it is known to the Defendant, IPP International UG’S address is as follows:
 5
                     IPP International UG
 6                   Jeremy E. Roller
                     ARETE LAW GROUP PLLC
 7                   1218 Third Avenue, Suite 2100
                     Seattle, Washington 98101
 8

 9          The requested documents are to be produced by June 6, 2019, electronically via Email

10   or Sharefile.
11                   J. Curtis Edmondson, WSBA #43795
12                   Email: jcedmondson@edmolaw.com
                     EDMONDSON IP LAW
13                   399 NE John Olsen Avenue
                     Hillsboro, Oregon 97124
14
            RESPECTFULLY SUBMITTED AND DATED this 7th day of May, 2019.
15

16                                             TERRELL MARSHALL LAW GROUP PLLC

17
                                               By: /s/ Adrienne D. McEntee, WSBA #34061
18                                               Beth E. Terrell, WSBA #26759
                                                 Email: bterrell@terrellmarshall.com
19                                               Adrienne D. McEntee, WSBA #34061
20                                               Email: amcentee@terrellmarshall.com
                                                 936 North 34th Street, Suite 300
21                                               Seattle, Washington 98103-8869
                                                 Telephone: (206) 816-6603
22                                               Facsimile: (206) 319-5450
23

24

25

26

27


                                                                    TERRELL MARSHALL LAW GROUP PLLC
     NOTICE OF INTENT TO SERVE SUBPOENA - 2                                936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                           Seattle, Washington 98103-8869
                                                                        TEL. 206.816.6603  FAX 206.319.5450
                                                                               www.terrellmarshall.com
           Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 8 of 46




 1
                                              J. Curtis Edmondson, WSBA #43795
 2                                            Email: jcedmondson@edmolaw.com
                                              EDMONDSON IP LAW
 3                                            399 NE John Olsen Avenue
                                              Hillsboro, Oregon 97124
 4
                                              Telephone: (503) 336-3749
 5
                                         Attorneys for Defendant
 6

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                                                             TERRELL MARSHALL LAW GROUP PLLC
     NOTICE OF INTENT TO SERVE SUBPOENA - 3                           936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                      Seattle, Washington 98103-8869
                                                                   TEL. 206.816.6603  FAX 206.319.5450
                                                                          www.terrellmarshall.com
            Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 9 of 46




 1                                     CERTIFICATE OF SERVICE

 2          I, Adrienne D. McEntee, hereby certify that on May 7, 2019, I electronically transmitted

 3   the foregoing to the following:
 4                  Lincoln D. Bandlow, Admitted Pro Hac Vice
 5                  Email: lincoln@bandlowlaw.com
                    LAW OFFICES OF LINCOLN BANDLOW, P.C.
 6                  1801 Century Park East, Suite 2400
                    Los Angeles, California 90067
 7                  Telephone: (310) 556-9580
                    Facsimile: (310) 861-5550
 8

 9                  John C. Atkin, Admitted Pro Hac Vice
                    Email: jatkin@atkinfirm.com
10                  THE ATKIN FIRM, LLC
                    55 Madison Avenue, Suite 400
11                  Morristown, New Jersey 07960
                    Telephone: (973) 285-3239
12

13                  Jeremy E. Roller, WSBA #32021
                    Email: jroller@aretelaw.com
14                  ARETE LAW GROUP PLLC
                    1218 Third Avenue, Suite 2100
15                  Seattle, Washington 98101
                    Telephone: (206) 428-3250
16
                    Facsimile: (206) 428-3251
17
                    Attorneys for Plaintiff
18
                    Joshua L. Turnham, WSBA #49926
19                  E-mail: joshua@turnhamlaw.com
20                  THE LAW OFFICE OF JOSHUA L. TURNHAM PLLC
                    1001 4th Avenue, Suite 3200
21                  Seattle, Washington 98154
                    Telephone: (206) 395-9267
22                  Facsimile: (206) 905-2996
23

24

25

26

27


                                                                   TERRELL MARSHALL LAW GROUP PLLC
     NOTICE OF INTENT TO SERVE SUBPOENA - 4                              936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                         Seattle, Washington 98103-8869
                                                                      TEL. 206.816.6603  FAX 206.319.5450
                                                                             www.terrellmarshall.com
          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 10 of 46




 1                F. Christopher Austin
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 2                WEIDE & MILLER, LTD.
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 3                Las Vegas, Nevada 89144
                  Telephone: (702) 382-4804
 4

 5                Derek A. Newman, WSBA #26967
                  Email: dn@newmanlaw.com
 6                NEWMAN DU WORS LLP
                  2101 4th Avenue, Suite 1500
 7                Seattle, Washington 98121
 8                Telephone: (206) 274-2800
                  Facsimile: (206) 274-2801
 9
                  Attorneys for IPP International UG
10
           DATED this 7th day of May, 2019.
11

12                                         TERRELL MARSHALL LAW GROUP PLLC

13
                                           By: /s/ Adrienne D. McEntee, WSBA #34061
14                                           Adrienne D. McEntee, WSBA 34061
                                             Email: amcentee@terrellmarshall.com
15                                           936 North 34th Street, Suite 300
16                                           Seattle, Washington 98103-8869
                                             Telephone: (206) 816-6603
17                                           Facsimile: (206) 319-5450

18                                         Attorneys for Defendant
19

20

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                                                              TERRELL MARSHALL LAW GROUP PLLC
     NOTICE OF INTENT TO SERVE SUBPOENA - 5                             936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                        Seattle, Washington 98103-8869
                                                                     TEL. 206.816.6603  FAX 206.319.5450
                                                                            www.terrellmarshall.com
                    Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 11 of 46
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Western District
                                                       __________        of Washington
                                                                  District  of __________
                STRIKE 3 HOLDINGS, LLC,
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:17-cv-01731-TSZ
            JOHN DOE, subscriber assigned IP                                  )
                address 73.225.38.130,                                        )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                            IPP International UG
         c/o Jeremy E. Roller, ARETE LAW GROUP PLLC, 1218 Third Avenue, Suite 2100, Seattle, Washington 98101
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Attached Exhibit A


  Place: Electronically via Email or Sharefile to                                       Date and Time:
           jcedmondson@edmolaw                                                                               06/06/2019 5:00 pm

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        05/07/2019

                                  CLERK OF COURT
                                                                                            OR
                                                                                                      /s/ J. Curtis Edmondson, WSBA #43795
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Defendant
JOHN DOE, subscriber assigned IP address 73.225.38.130                   , who issues or requests this subpoena, are:
J. Curtis Edmondson, WSBA #43795, 399 NE John Olsen Avenue, Hillsboro, Oregon 97124, (503) 336-3749

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                    Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 12 of 46
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:17-cv-01731-TSZ

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                     Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 13 of 46
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 14 of 46




        — EXHIBIT A —
           Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 15 of 46




 1                                                        THE HONORABLE THOMAS S. ZILLY

 2

 3

 4

 5
                                    U.S. DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
 7   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
 8                                                       NO. 2:17-cv-01731-TSZ
 9                             Plaintiff,
                                                         EXHIBIT “A” ─ SUBPOENA TO
                                                         PRODUCE DOCUMENTS,
10          vs.
                                                         INFORMATION OR OBJECTS
11                                                       ISSUED TO IPP INTERNATIONAL
     JOHN DOE, subscriber assigned IP
                                                         UG
12   address 73.225.38.130,

13                             Defendant.

14
     JOHN DOE subscriber assigned IP
15   address 73.225.38.130,
16                             Counterclaimant,
17
            vs.
18
     STRIKE 3 HOLDINGS, LLC,
19
                               Counterdefendant.
20

21

22          Please take notice that on or before June 6, 2019, at 5:00 p.m., pursuant to Rule 45 of

23   the Federal Rules of Civil Procedure, IPP INTERNATIONAL UG shall produce documents

24   identified below in accordance with the attached subpoena.

25          Pursuant to the May 3, 2019 Order (Dkt. 118), (1) a copy of the object code of the

26   Infringement Detection Software used on the Dates Of Alleged Infringements; (2) a copy of the

27
     EXHIBIT “A” ─ SUBPOENA TO PRODUCE
     DOCUMENTS, INFORMATION OR OBJECTS ISSUED TO
                                                                    TERRELL MARSHALL LAW GROUP PLLC
     IPP INTERNATIONAL UG - 1                                              936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                           Seattle, Washington 98103-8869
                                                                        TEL. 206.816.6603  FAX 206.319.5450
                                                                               www.terrellmarshall.com
           Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 16 of 46




 1   source code of the Infringement Detection Software that was used on the Dates Of Alleged
 2   Infringements; (3) a copy of all third-party software licenses that were used for Infringement
 3   Detection Software on the Dates Of Alleged Infringements; (4) a copy of all build files of the
 4   Infringement Detection Software that was used on the Dates Of Alleged Infringements; and (5)
 5   a copy of all validation test files for the Infringement Detection Software that was used on the
 6   Dates Of Alleged Infringements. Please use the definitions set forth in Exhibit 1.
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     EXHIBIT “A” ─ SUBPOENA TO PRODUCE
     DOCUMENTS, INFORMATION OR OBJECTS ISSUED TO
                                                                     TERRELL MARSHALL LAW GROUP PLLC
     IPP INTERNATIONAL UG - 2                                              936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                           Seattle, Washington 98103-8869
                                                                        TEL. 206.816.6603  FAX 206.319.5450
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         — EXHIBIT 1 —
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 1                                                                       The Honorable Thomas S. Zilly
 2

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 7

 8                                UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9

10     STRIKE 3 HOLDINGS, LLC, a Delaware                Case No. 2:17-cv-01731-TSZ
       corporation,
11                                                       PLAINTIFF’S OBJECTIONS AND
                                           Plaintiff,    RESPONSES TO DEFENDANT’S FIRST
12                                                       REQUESTS FOR PRODUCTION
                  v.
13

14     JOHN DOE, subscriber assigned IP
       address 73.225.38.130,
15
                                         Defendant.
16

17
             Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff Strike Three
18
     Holdings, LLC (“Plaintiff”) hereby responds and objects to Defendant John Doe’s, subscriber
19
     assigned IP address 73.225.38.130 (“Defendant”), First Requests for Production (“Requests”).
20
                                        PRELIMINARY STATEMENT
21
             1.         By responding to these Requests, Plaintiff neither waives nor intends to waive,
22
     and in fact expressly reserves all objections to these Requests, including: (1) all objections as to
23
     competency, relevancy, materiality and admissibility; (2) all objections as to vagueness,
24
     ambiguity and undue burden; (3) all rights to object on any ground to the use of any of these
25
     answers, documents that may be produced, or the subject matter thereof in any subsequent
26

       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                         FOX ROTHSCHILD LLP
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 1 proceeding or at trial of this case; and (4) all rights to object on any ground to any request for

 2 further answers to these or any other discovery requests.

 3           2.     Plaintiff’s investigation of the facts and law relating to this case is continuing and
 4 has not been completed. Nor has discovery or preparation for trial been completed. Therefore,

 5 this response is being provided without prejudice to Plaintiff’s right to add, modify or otherwise

 6 change or amend these responses and is subject to Plaintiff’s right to produce evidence of any

 7 subsequently-discovered fact or document.

 8           3.     Plaintiff’s response to each Request is submitted without prejudice to, and without
 9 in any way waiver of the General Objections listed below, whether or not each such General

10 Objection is expressly set forth in response to a particular Request. The assertion of any

11 objection or any other response below is neither intended as, nor shall in any way be deemed, a

12 waiver of Plaintiff’s right to assert any other objections at a later date.

13           4.     Plaintiff’s responses to these Requests are subject to and without waiving, but on
14 the contrary reserving, Plaintiff’s right to object to other discovery procedures relating to the

15 subject matter of the Requests. Further, information and documents that Plaintiff may produce

16 will be produced subject to Plaintiff’s right to object to the introduction of such information or

17 document at any hearing or at the trial of this matter. The fact that Plaintiff may produce

18 responsive documents that can be located after a reasonable search should not be taken as an

19 admission that any such documents exist. The fact that Plaintiff has responded to part or all of

20 any Request is not intended to be, and shall not be construed to be, a waiver by Plaintiff of any

21 objection to any Request.

22                                      GENERAL OBJECTIONS
23           1.     Plaintiff expressly incorporates the following General Objections and the above
24 Preliminary Statement into Plaintiff’s responses to each Request. They are set forth here to

25 avoid the unnecessary repetition of restating them for each individual answer. Failure to
26

       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                         FOX ROTHSCHILD LLP
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 1 specifically incorporate a General Objection shall not be construed as a waiver of it with respect

 2 to any specific Request.

 3           2.     Plaintiff objects to each Request to the extent that it calls for the production of
 4 information or documents by Plaintiff which are not in Plaintiff’s custody, possession or control

 5 or attempts to impose a duty on Plaintiff to obtain information from third parties. Specifically,

 6 Plaintiff objects to Defendant’s definitions of “Strike 3 Holdings, LLC,” “You,” and “Your”

 7 insofar as they purport to require Plaintiff to produce information in the hands of third parties.

 8 Plaintiff answers these Requests only on its own behalf and not on behalf of any other party.

 9           3.     Plaintiff objects to Plaintiff’s Definitions and Instructions to the extent they are
10 inconsistent with, or purport to impose any burden or obligation on Plaintiff in excess of, the

11 requirements of the Federal Rules of Civil Procedure, such as Rules 26, 33 and 34, and the Local

12 Rules of the Court and the Court’s orders. Plaintiff will rely upon the Federal Rules of Civil

13 Procedure, the Local Civil Rules, the Court’s orders and governing case law with respect to the

14 appropriate scope of its responses.

15           4.     Plaintiff objects to each Request to the extent they purport to require disclosure of
16 Plaintiff’s confidential and/or proprietary business information and trade secrets without

17 sufficient safeguards or protections to maintain the confidential and/or proprietary nature of the

18 information. Likewise, Plaintiff will not produce the confidential, proprietary or trade secret

19 information of third parties with whom Plaintiff transacts business. Similarly, Plaintiff will not

20 produce confidential personal information in violation of the privacy rights of its officers,

21 employees or any third parties.

22           5.     Plaintiff objects to each Request to the extent that it seeks information that is
23 protected by the attorney-client privilege, the work product privilege or other privileges, or

24 which constitute material prepared in anticipation of litigation and/or which are exempt from

25 disclosure pursuant to Fed. R. Civ. P. 26, upon the grounds that privileged matter is exempt from
26 discovery and trial preparation material may only be discoverable upon satisfaction of the

       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                         FOX ROTHSCHILD LLP
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 1 prerequisites delineated in Fed. R. Civ. P. 26(b)(3) and (b)(4), which prerequisites have not been

 2 satisfied.

 3           6.     Plaintiff objects to the use throughout the Requests of words and phrases that are
 4 vague, ambiguous, not sufficiently definite, or susceptible to varying interpretations. Plaintiff’s

 5 responses to these Requests are based upon its understanding of such words and phrases.

 6           7.     The inadvertent or mistaken provision of information subject to the protections of
 7 the attorney-client privilege, work product doctrine, or other privilege shall not constitute a

 8 general, inadvertent, implicit, subject matter, separate, independent or other waiver of such

 9 privilege or protection, and does not put in issue or constitute the affirmative use of the advice of

10 counsel or of any privileged communications. All such inadvertently provided information shall

11 be returned to Plaintiff’s counsel, along with any copies made thereof.

12                                    DOCUMENTS REQUESTED
13           REQUEST FOR PRODUCTION NO. 1: A copy of the object code of the
14 Infringement Detection Software used on the Dates Of Alleged Infringements.

15           RESPONSE:
16           In addition to its general objections, which are incorporated herein by reference, Plaintiff
17 objects to this request as premature. This case is in its infancy. Defendant did not answer

18 Plaintiff’s Complaint, nor has Defendant answered or otherwise responded to Plaintiff’s

19 forthcoming First Amended Complaint. Instead, Defendant moved for a more definite statement

20 and asserted counterclaims. See Dkt. # 21 & 22. Plaintiff filed a motion to dismiss those

21 counterclaims and parties are currently awaiting the Court’s decision on that motion. See Dkt. #

22 35. In the meantime, the Court granted Defendant’s motion for a more definite statement and

23 ordered Plaintiff to file an amended complaint. See Dkt. # 36. In other words, the precise causes

24 of action, issues (legal and factual), admissions, denials, and affirmative defenses have not even

25 been framed or alleged. This case is still in the pleading stage, not the discovery phase.
26 Defendant’s responsive pleading or motion to Plaintiff’s First Amended Complaint is due July

       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                        FOX ROTHSCHILD LLP
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 1 17, 2018. See Dkt. # 36. Accordingly, the Court struck the previously scheduled status

 2 conference and ordered the parties to conduct a Fed.R.Civ.P. 26(f) conference and file a Joint

 3 Status Report on or before July 21. Id. Fed.R.Civ.P 26(d)(1) expressly states that “[a] party may

 4 not seek discovery from any source before the parties have conferred as required by Rule 26(f).”

 5           For that reason, the other reasons stated above, and the procedural and nascent posture of
 6 this case, this request is premature. It is a waste of resources to substantively respond to

 7 discovery at this point, especially since Defendant’s identity remains unknown and the

 8 heightened potential for misuse of produced information since the precise causes of action, issues

 9 (legal and factual), admissions, denials, and affirmative defenses have not even been framed or

10 alleged. Plaintiff further objects to this request for production as seeking confidential,

11 proprietary, and/or trade secret information, which Plaintiff will not produce unless and until

12 after entry of an appropriate and mutually agreeable protective order.

13           Subject to and without waiving its general and specific objections, Plaintiff will
14 supplement its response to this request for production at an appropriate, later date.

15

16           REQUEST FOR PRODUCTION NO. 2: A copy of the source code of the
17 Infringement Detection Software that was used on the Dates Of Alleged Infringements.

18           RESPONSE:
19           See response to Request for Production No. 1, which response is incorporated here by
20 reference.

21

22           REQUEST FOR PRODUCTION NO. 3: A copy of all third-party software licenses
23 that were used for Infringement Detection Software on the Dates Of Alleged Infringements.

24           RESPONSE:
25           See response to Request for Production No. 1, which response is incorporated here by
26 reference.

       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                        FOX ROTHSCHILD LLP
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 1           REQUEST FOR PRODUCTION NO. 4: A copy of all build files of the Infringement
 2 Detection Software that was used on the Dates Of Alleged Infringements

 3           RESPONSE:
 4           See response to Request for Production No. 1, which response is incorporated here by
 5 reference.

 6

 7           REQUEST FOR PRODUCTION NO. 5: A copy of all validation test files for the
 8 Infringement Detection Software that was used on the Dates Of Alleged Infringements.

 9           RESPONSE:
10           See response to Request for Production No. 1, which response is incorporated here by
11 reference.

12

13           REQUEST FOR PRODUCTION NO. 6: A copy of all documentation for
14 Infringement Detection on the Dates Of Alleged Infringements.

15           RESPONSE:
16           See response to Request for Production No. 1, which response is incorporated here by
17 reference.

18

19           REQUEST FOR PRODUCTION NO. 7: A copy of all expert reports regarding the
20 testing, validation, and/or inspection of the Infringement Detection Software on the Dates Of

21 Alleged Infringements.

22           RESPONSE:
23           See response to Request for Production No. 1, which response is incorporated here by
24 reference.

25
26

       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                    FOX ROTHSCHILD LLP
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 1           REQUEST FOR PRODUCTION NO. 8: A copy of all expert reports regarding the
 2 testing, validation, and/or monitoring of Infringement Detection.

 3           RESPONSE:
 4           See response to Request for Production No. 1, which response is incorporated here by
 5 reference.

 6

 7           REQUEST FOR PRODUCTION NO. 9: A copy of any and all Documents that
 8 reference IP Addresses used to monitor the BitTorrent Swarm for Infringement Detection on the

 9 Dates Of Alleged Infringements.

10           RESPONSE:
11           See response to Request for Production No. 1, which response is incorporated here by
12 reference.

13

14           REQUEST FOR PRODUCTION NO. 10: A copy of all PCAPs from the BitTorrent
15 Swarms that were collected for Infringement Detection on the Dates of the Alleged

16 Infringements.

17           RESPONSE:
18           See response to Request for Production No. 1, which response is incorporated here by
19 reference.

20

21           REQUEST FOR PRODUCTION NO. 11: A copy of all Torrent Files accessed by the
22 Infringement Detection Software corresponding to the Works.

23           RESPONSE:
24           See response to Request for Production No. 1, which response is incorporated here by
25 reference.
26

       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                    FOX ROTHSCHILD LLP
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 1           REQUEST FOR PRODUCTION NO. 12: A copy of all DMCA notices sent to IP
 2 address 73.225.38.130.

 3           RESPONSE:
 4           See response to Request for Production No. 1, which response is incorporated here by
 5 reference.

 6

 7           REQUEST FOR PRODUCTION NO. 13: A copy of all DMCA notices sent to any
 8 internet service provider, in relation to IP address 73.225.38.130.

 9           RESPONSE:
10           See response to Request for Production No. 1, which response is incorporated here by
11 reference.

12

13           REQUEST FOR PRODUCTION NO. 14: A copy of all copyright certificates related
14 to the Works.

15           RESPONSE:
16           See response to Request for Production No. 1, which response is incorporated here by
17 reference.

18

19           REQUEST FOR PRODUCTION NO. 15: A copy of all copyright depository copies
20 related to the Works.

21           RESPONSE:
22           See response to Request for Production No. 1, which response is incorporated here by
23 reference.

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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                    FOX ROTHSCHILD LLP
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 1           REQUEST FOR PRODUCTION NO. 16: All Documents, for the last three years,
 2 supporting your allegation in paragraph 3 of the Complaint that SH3 has “...more than 20 million

 3 unique visitors to its websites each month...”

 4           RESPONSE:
 5           In addition to its general objections, which are incorporated herein by reference, Plaintiff
 6 objects to this request as premature. This case is in its infancy. Defendant did not answer

 7 Plaintiff’s Complaint, nor has Defendant answered or otherwise responded to Plaintiff’s

 8 forthcoming First Amended Complaint. Instead, Defendant moved for a more definite statement

 9 and asserted counterclaims. See Dkt. # 21 & 22. Plaintiff filed a motion to dismiss those

10 counterclaims and parties are currently awaiting the Court’s decision on that motion. See Dkt. #

11 35. In the meantime, the Court granted Defendant’s motion for a more definite statement and

12 ordered Plaintiff to file an amended complaint. See Dkt. # 36. In other words, the precise causes

13 of action, issues (legal and factual), admissions, denials, and affirmative defenses have not even

14 been framed or alleged. This case is still in the pleading stage, not the discovery phase.

15 Defendant’s responsive pleading or motion to Plaintiff’s First Amended Complaint is due July

16 17, 2018. See Dkt. # 36. Accordingly, the Court struck the previously scheduled status

17 conference and ordered the parties to conduct a Fed.R.Civ.P. 26(f) conference and file a Joint

18 Status Report on or before July 21. Id. Fed.R.Civ.P 26(d)(1) expressly states that “[a] party may

19 not seek discovery from any source before the parties have conferred as required by Rule 26(f).”

20           For that reason, the other reasons stated above, and the procedural and nascent posture of
21 this case, this request is premature. It is a waste of resources to substantively respond to

22 discovery at this point, especially since Defendant’s identity remains unknown and the

23 heightened potential for misuse of produced information since the precise causes of action, issues

24 (legal and factual), admissions, denials, and affirmative defenses have not even been framed or

25 alleged. Plaintiff further objects to this request for production as seeking confidential,
26 proprietary, and/or trade secret information, which Plaintiff will not produce unless and until

       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                        FOX ROTHSCHILD LLP
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 1 after entry of an appropriate and mutually agreeable protective order.

 2           Plaintiff further objects to this request for production as citing an allegation in a
 3 Complaint that is no longer the operative complaint in this action, and therefore seeks

 4 information that is not relevant or reasonably calculated to lead to the discovery of admissible

 5 evidence. See Dkt. # 36.

 6           Subject to and without waiving its general and specific objections, Plaintiff will
 7 supplement its response to this request for production at an appropriate, later date.

 8

 9           REQUEST FOR PRODUCTION NO. 17: All Documents supporting your allegations
10 in paragraph 4 of the Complaint that Defendant “...has been recorded infringing 80 movies over

11 an extended period of time”.

12           RESPONSE:
13           See response to Request for Production No. 16, which response is incorporated here by
14 reference.

15

16           REQUEST FOR PRODUCTION NO. 18: All Documents supporting your allegations
17 in paragraph 9 of the Complaint that “...Plaintiff used IP address geolocation technology by

18 Maxmind Inc. (“Maxmind”)”.

19           RESPONSE:
20           See response to Request for Production No. 16, which response is incorporated here by
21 reference.

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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                          FOX ROTHSCHILD LLP
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 1           REQUEST FOR PRODUCTION NO. 19: All Documents supporting your allegations
 2 in paragraph 13 of the Complaint that “Strike 3's subscription based websites proudly boast a

 3 paid subscriber base that is one of the highest of any adult-content sites in the world.”

 4           RESPONSE:
 5           See response to Request for Production No. 16, which response is incorporated here by
 6 reference.

 7

 8           REQUEST FOR PRODUCTION NO. 20: All Documents supporting your allegations
 9 in paragraph 13 of the Complaint that "Strike 3 also licenses its motion pictures to popular

10 broadcasters".

11           RESPONSE:
12           See response to Request for Production No. 16, which response is incorporated here by
13 reference.

14

15           REQUEST FOR PRODUCTION NO. 21: All Documents supporting your allegations
16 in paragraph 13 of the Complaint that “Strike 3's motion pictures are the number one selling

17 adult DVDs in the United States”.

18           RESPONSE:
19           See response to Request for Production No. 16, which response is incorporated here by
20 reference.

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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                      FOX ROTHSCHILD LLP
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 1           REQUEST FOR PRODUCTION NO. 22: All Documents supporting your allegations
 2 in paragraph 16 of the Complaint that “Often appearing among the most infringed popular

 3 entertainment content on torrent websites, Strike 3's motion pictures are among the most pirated

 4 content in the world.”

 5           RESPONSE:
 6           See response to Request for Production No. 16, which response is incorporated here by
 7 reference.

 8

 9           REQUEST FOR PRODUCTION NO. 23: All Documents supporting your allegations
10 that Defendant distributed S3H's Works, as alleged in paragraph 23 of the Complaint.

11           RESPONSE:
12           See response to Request for Production No. 16, which response is incorporated here by
13 reference.

14

15           REQUEST FOR PRODUCTION NO. 24: All Documents supporting your allegations
16 in paragraph 26 of the Complaint that “A full copy of each digital media file was downloaded

17 from the BitTorrent file distribution network, and it was confirmed through independent

18 calculation that the file hash correlating to each file matched the file hash downloaded by

19 Defendant.”

20           RESPONSE:
21           See response to Request for Production No. 16, which response is incorporated here by
22 reference.

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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                     FOX ROTHSCHILD LLP
       DEFENDANT’S FIRST RFPS - (2:17-CV-01731-TSZ) - 12                         1001 FOURTH AVENUE, SUITE 4500
                                                                                             SEATTLE, WA 98154
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 1           REQUEST FOR PRODUCTION NO. 25: All Documents supporting your allegations
 2 in paragraph 27 of the Complaint that “Defendant downloaded, copied, and distributed a

 3 complete copy of Plaintiff's Works”.

 4           RESPONSE:
 5           See response to Request for Production No. 16, which response is incorporated here by
 6 reference.

 7

 8           REQUEST FOR PRODUCTION NO. 26: All Documents supporting your allegations
 9 in paragraph 29 of the Complaint that “The digital media files have been verified to contain a

10 digital copy of a motion picture that is identical (or alternatively, strikingly similar or

11 substantially similar) to Plaintiff's corresponding original copyrighted Works”.

12           RESPONSE:
13           See response to Request for Production No. 16, which response is incorporated here by
14 reference.

15

16           REQUEST FOR PRODUCTION NO. 27: All Documents supporting your allegations
17 in paragraph 30 of the Complaint that “Absent this lawsuit, Plaintiff knows of no way to

18 effectively prevent Defendant from infringing Plaintiff’s motion pictures.”

19           RESPONSE:
20           See response to Request for Production No. 16, which response is incorporated here by
21 reference.

22           //
23           //
24           //
25           //
26           //

       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                         FOX ROTHSCHILD LLP
       DEFENDANT’S FIRST RFPS - (2:17-CV-01731-TSZ) - 13                             1001 FOURTH AVENUE, SUITE 4500
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 1           DATED this 3rd day of July, 2018.
 2
                                                 FOX ROTHSCHILD LLP
 3

 4                                                 s/ Bryan J. Case
                                                 Bryan J. Case, WSBA #41781
 5                                               Lincoln D. Bandlow, admitted Pro Hac Vice
                                                 (CSBA #170449)
 6
                                                 Attorneys for Plaintiff
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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                  FOX ROTHSCHILD LLP
       DEFENDANT’S FIRST RFPS - (2:17-CV-01731-TSZ) - 14                      1001 FOURTH AVENUE, SUITE 4500
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                                                                                               206.624.3600


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 1                                   CERTIFICATE OF SERVICE
 2
             I hereby certify that on July 3, 2018, I served the foregoing document on the following
 3
     individuals via the method described below:
 4                                                                
                                                                  
 5            J. Curtis Edmondson, WSBA #43795                      Via CM/ECF
              399 NE John Olsen Avenue                              Via U.S. Mail
 6            Hillsboro, Oregon 97124                               Via Messenger Delivery
              Telephone: (503) 336-3749                           ; Via Email (per agreement)
 7
              Email: jcedmondson@edmolaw.com                        Via Facsimile
 8                    kirenr@edmolaw.com

 9
                                                                  
10
             DATED this 3rd day of July, 2018.
11

12                                                 /s/ Christine F. Zea
                                                   Christine F. Zea
13                                                 Floating Legal Administrative Assistant
14

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       PLAINTIFF’S OBJECTIONS AND RESPONSES TO                                      FOX ROTHSCHILD LLP
       DEFENDANT’S FIRST RFPS - (2:17-CV-01731-TSZ) - 15                          1001 FOURTH AVENUE, SUITE 4500
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                                                                                                   206.624.3600


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          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 33 of 46




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 3                               EXHIBIT 2
 4                   Dallas Buyers Club, LLC vs. Huszar
                       Court entered Protective Orders
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27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S RENEWED MOTION TO
     COMPEL PRODUCTION OF SOFTWARE OR EXCLUDE
     EXPERT AND LAY TESTIMONY WHICH DEPENDS ON
     ITS RELIABILITY - 6
     CASE NO. 2:17-CV-01731-TSZ
          Case 3:15-cv-00907-AC Document 116 Filed 08/07/17 Page 1 of 3
         Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 34 of 46




                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON


DALLAS BUYERS CLUB, LLC,                                             Case No: 3:15-cv-00907-AC

                Plaintiff,                              STIPULATED
                                                        PROTECTIVE ORDER
v.
                                                        (Computer Source Code)
JOHN HUSZAR,

                Defendant.


                              STIPULATED PROTECTIVE ORDER
                                    (Computer Source Code)


        Relevant to this case are documents and information from third-parties Excipio GmbH,

and Maverickeye, UG including proprietary and confidential software source code and machine

code for the software used to identify the IP address used by the defendant to infringe plaintiffs

rights in its motion picture. Excipio and Maverickeye maintain the requested documents and

infotmation as confidential, even as to each other, and subject to protection under Federal Rule

of Civil Procedure 26(c).

        As an addendum to the current Protective Order (Ecf. 106) in this action, all matters that

may apply to the computer source code I software ofExcipio or Maverickeye are to be subject to

the further restrictions of including, but not limited to:




PROTECTIVE ORDER- Source Code                                                    Page 1 of3
          Case 3:15-cv-00907-AC Document 116 Filed 08/07/17 Page 2 of 3
         Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 35 of 46



       1.        Plaintiff's expert is designated as Robert D. Young of Ability Systems, Corp. I

Jolmson-Laird, Inc.: PO Box 6593 Aloha OR 97007 Tel: (503) 259-2614 FAX: (503) 802-9711

Robert@AbilitySys.com.

       2.        Defendant's expert is designated as Kai Toth, 304-1132 SW 19th Ave, Portland,

Oregon, Tel: (503) 984-3531, kalmanctoth@gmail.com.

       3.        Prior to obtaining access, each expert shall expressly agree to be bound by the

terms of the protective orders in this action and other orders of the court with the return of the

acknowledgement attached as Exhibit A.

       4.        Only the disclosed specific experts and the listed counsel for the parties, Carl D.

Crowell, J. Curtis Edmondson, and Michael 0. Stevens personally, and no other party, including

affiliated counsel and staff shall have access to the Excipio and Maverickeye software I source

code. This limitation of parties with access to be strictly construed.


IT IS SO ORDERED.


        DAIBD       o"t",            Cl?Co'---
                                  United ~tljtes Magistrate Judge
                                          ,,/




So Stipulated:


            Isl Carl D. Crowell                             Isl Joseph Curtis Edmondson
            Carl D. Crowell, OSB #982049                   Joseph Curtis Edmondson, PHV




PROTECTIVE ORDER- Source Code                                                      Page 2 of3
            Case 3:15-cv-00907-AC Document 116 Filed 08/07/17 Page 3 of 3
           Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 36 of 46



                                           EXHIBIT A


I,                     , have been advised by counsel of record for                      m

Dallas Buyers Club, LLC v. Huszar, Case 15-cv-00907-AC in the United States District Court
for the District of Oregon, of the Protective Orders (including those at to Computer Source Code)
governing third party documents including computer software, source code and machine code, to
be produced for my review in this litigation. I have read a copy of the relevant orders and agree
to abide by the terms of the orders


Signed:
Printed:


Address:
Tel:
Email:
Retained expert for:




PROTECTIVE ORDER- Source Code                                                  Page 3 of3
           Case 3:15-cv-00907-AC Document 137 Filed 02/23/18 Page 1 of 2
          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 37 of 46




                               UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION


DALLAS BUYERS CLUB, LLC,                               Case No.: 3:15-cv-0907-AC

                 Plaintiff,                            STIPULATED MOTION TO EXTEND
v.                                                     TIME AND TO MODIFY PROTECTIVE
                                                       ORDER
JOHN HUSZAR

                 Defendants.


          JOINT STIPULATED MOTION TO EXTEND TIME AND TO MODIFY THE

                                     PROTECTIVE ORDER

The parties stipulate as follows:

     1. The patiies have stipulated to extend the time for briefing on Defendant's cross-motion

        for summary judgment, and move the Court to alter the previous briefing schedule as

        follows:

            a. Defendant will file his Motion for Summary Judgment on 2/28/2018;

            b. Plaintiff will file its Opposition to   D~fendant' s   Motion for Summary Judgment on

                 03/14/2018; and

            c.     Defendant will file his reply on the Motion for Summary Judgment on

                 03/21/2018.

     2. The Software Protective Order at Docket 116, paragraph 4 should be modified as follows:

                 For those p01i1ons of the Excipio and Maverickeye software/source code that are

                 not open source, only the disclosed specific expe1is, all counsel of record for the



                                    STIP. MOT. TO EXT. TIME
                                            Page2
   Case 3:15-cv-00907-AC Document 137 Filed 02/23/18 Page 2 of 2
  Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 38 of 46



       parties, and their staff, shall have access to that portion of the code. The

        limitations of parties with access shall be strictly construed.


Respectively submitted,

                                            Isl Kiren RockensteinAttorney for
                                              Defendant

                                             Isl John Mansfield


                                            Attorney for Plaintiff



 SO ORDERED this 23 day of February, 2018.




                                                           John V. Acosta
                                                      -· ed States Magistrate Judge




                            STIP. MOT. TO EXT. TIME
                                    Page 3
          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 39 of 46




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                              EXHIBIT 3
 3
               June 20, 2019, email correspondence with
 4                   Chris Austin, counsel for IPP.
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27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S RENEWED MOTION TO
     COMPEL PRODUCTION OF SOFTWARE OR EXCLUDE
     EXPERT AND LAY TESTIMONY WHICH DEPENDS ON
     ITS RELIABILITY - 7
     CASE NO. 2:17-CV-01731-TSZ
Mail Business IPP Source Code Protective Order (our file DIS 1_002) Pr...   https://mailbusiness.ionos.com/appsuite/v=7.8.4-52.20190612.083935/pri...
                          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 40 of 46


             J. Curtis Edmondson <jcedmondson@edmolaw.com>                                                         6/20/2019 1:00 PM

             IPP Source Code Protective Order (our file DIS 1.002)
             To Adrienne McEntee <amcentee@terrellmarshall.com> • F. Christopher Austin <caustin@weidemiller.com> Copy
             Lincoln Bandlow <lincoln@bandlowlaw.com> • dn@newmanlaw.com • rachel@newmanlaw.com •
             John Atkin <jatkin@atkinfirm.com> • Jeremy Roller <jroller@aretelaw.com> •
             Brianna Show <bshow@weidemiller.com> • jcedmondson@edmolaw.com


             Chris,

             On my drive back from Sacramento, we spoke on the phone regarding three points about the proposed protective
             order from IPP that I wish to have modified:

             1) The inspecting parties are myself and Kal Toth,

             2) The software would be a stand alone computer in my office,

             3) We can print more than 50 pages, but all pages would be retained and destroyed at the end of the case or
             turned over to your office.

             Mr. Perino (Guardeley, Maverickeye, IPP, Excipio, etc) provided use with a thumb drive with the code in the DBC
             case before Judge Simon and Judge Acosta in the Dist of Oregon. That code was 95+% open source and what
             was not open source was a few lines in each subroutine that appeared to be modified by Mr. Perino, Patzer, etc.
             Judge Acosta and Mr. Perino agreed that there was no restrictions on the open source code and the only
             restrictions were on the subroutines modified by Mr. Perino, Mr. Patzer, etc. The DBC protective order was a
             reasonable protective order since IPP cannot claim that open source code, freely available, is confidential. I have
             sent you copies of those protective orders.

             I have not heard from you regarding Mr. Perino's/IPP position regarding the source code inspection. Please let me
             know by noon what Mr. Perino/IPP intends to do.

             In Best Regards,

             J. Curtis Edmondson, Patent Attorney, Edmondson IP Law
             Venture Commerce Center, 3699 NE John Olsen Ave, Hillsboro OR 97124
             ph: (503) 336-3749 | fax: (503) 482-7418 | jcedmondson@edmolaw.com | www.edmolaw.com
             Licenses: CA SBN 236105 | WA SBN 43795 | DC BAR NO 998407 | OR SBN 190356 | USPTO 57027 | CA PE
             13377 | WA PE 43728



             > On June 20, 2019 at 10:30 AM Adrienne McEntee wrote:
             >
             > Chris, I know that you and Curt discussed changes and understood you would get back with us yesterday about
             those changes. As I explained to you previously, if we cannot present an agreed order today, we will have no option
             but to seek court intervention. Given the time change in Germany, it seems that we should know one way or the
             other by noon.
             >
             > Sent from my iPhone
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1 of 7                                                                                                                           6/20/2019, 4:58 PM
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                          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 41 of 46


             > On Jun 18, 2019, at 12:27 PM, F. Christopher Austin < caustin@weidemiller.com mailto:caustin@weidemiller.com
             > wrote:
             >
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             >>>
             > > Curtis:
             >>
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             >>
             > > Thank you. IPP sent me a revised version Sunday that I did not see until today. I’ve attached the redline here
             so you can see the changes they have made. Let me know if you have any issues with these changes.
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             > > Chris
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             > > F. Christopher Austin
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             > > Weide & Miller, Ltd.
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             > > 10655 Park Run Drive
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             > > Suite 100
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             > > Las Vegas NV 89144
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             > > 702.610.9094 Mobile
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             > > 702.382.4804 Office
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             > > 702.382.4805 Fax
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             > > caustin@weidemiller.com mailto:caustin@weidemiller.com | www.weidemiller.com
             https://urldefense.proofpoint.com/v2/url?u=http-3A__www.weidemiller.com_&d=DwMGaQ&
             c=euGZstcaTDllvimEN8b7jXrwqOf-v5A_CdpgnVfiiMM&
             r=ou98Vp0UvCvCAG7ncIukQuOB8GANDSEGzXgHglg9LYQ&
             m=KbypqETH9iUj7PlhQC3DpZnp3GO2TZ4bKioCU1loEug&s=C_s5ke-Zwmb25O_mxRb9o_MDZq1tCUh4-
             YlBX7uocQs&e=
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             > > This communication is for its intended recipient only, and may contain information that is privileged, confidential
             and exempt from disclosure under applicable law. If you are not the intended recipient or the employee or agent
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             received this communication in error, please notify us immediately by telephone (702-382-4804) or e-mail reply,




2 of 7                                                                                                                           6/20/2019, 4:58 PM
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                          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 42 of 46


             delete it from your system, and destroy any hard copy you may have printed. Thank you. Pursuant to IRS Circular
             230, any tax information or written tax advice contained herein (including any attachments) is not intended to be
             and can neither be used by any person for the purpose of avoiding tax penalties nor used to promote, recommend
             or market any tax-related matter addressed herein.
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             >>
             > > From: J. Curtis Edmondson
             > > Sent: Tuesday, June 18, 2019 12:03 PM
             > > To: F. Christopher Austin ; Adrienne McEntee ; Lincoln Bandlow ; dn@newmanlaw.com
             mailto:dn@newmanlaw.com ; rachel@newmanlaw.com mailto:rachel@newmanlaw.com
             > > Cc: John Atkin ; Jeremy Roller ; Brianna Show
             > > Subject: RE: Subpoena to IPP
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             > > Chris,
             >>
             > > My edits are pretty minor. We would designate Kal Toth and the inspection room would be at my office on a
             separate computer.
             >>
             > > - Curt
             >>
             > > J. Curtis Edmondson, Patent Attorney, Edmondson IP Law
             > > Venture Commerce Center, 3699 NE John Olsen Ave, Hillsboro OR 97124
             > > ph: (503) 336-3749 | fax: (503) 482-7418 | jcedmondson@edmolaw.com mailto:jcedmondson@edmolaw.com |
             www.edmolaw.com https://urldefense.proofpoint.com/v2/url?u=http-3A__www.edmolaw.com&d=DwMGaQ&
             c=euGZstcaTDllvimEN8b7jXrwqOf-v5A_CdpgnVfiiMM&
             r=ou98Vp0UvCvCAG7ncIukQuOB8GANDSEGzXgHglg9LYQ&
             m=KbypqETH9iUj7PlhQC3DpZnp3GO2TZ4bKioCU1loEug&
             s=NbO1mAxp7khcI3AMw4HqH4CN0bI3Zn4CVCog2hzwpp4&e=
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             13377 | WA PE 43728
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             > > > On June 17, 2019 at 9:35 PM "F. Christopher Austin" wrote:
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             > > > Yes
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             > > > F. Christopher Austin
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             > > > Weide & Miller, Ltd.
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             > > > 10655 Park Run Drive




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             https://urldefense.proofpoint.com/v2/url?u=http-3A__www.weidemiller.com_&d=DwMGaQ&
             c=euGZstcaTDllvimEN8b7jXrwqOf-v5A_CdpgnVfiiMM&
             r=ou98Vp0UvCvCAG7ncIukQuOB8GANDSEGzXgHglg9LYQ&
             m=KbypqETH9iUj7PlhQC3DpZnp3GO2TZ4bKioCU1loEug&s=C_s5ke-Zwmb25O_mxRb9o_MDZq1tCUh4-
             YlBX7uocQs&e=
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             > > > This communication is for its intended recipient only, and may contain information that is privileged,
             confidential and exempt from disclosure under applicable law. If you are not the intended recipient or the employee
             or agent responsible for delivering this communication to the intended recipient, you are hereby notified that any
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             received this communication in error, please notify us immediately by telephone (702-382-4804) or e-mail reply,
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             230, any tax information or written tax advice contained herein (including any attachments) is not intended to be
             and can neither be used by any person for the purpose of avoiding tax penalties nor used to promote, recommend
             or market any tax-related matter addressed herein.
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             > > > From: J. Curtis Edmondson
             > > > Sent: Monday, June 17, 2019 6:34 PM
             > > > To: F. Christopher Austin ; Adrienne McEntee ; Lincoln Bandlow ; dn@newmanlaw.com
             mailto:dn@newmanlaw.com ; rachel@newmanlaw.com mailto:rachel@newmanlaw.com ;
             jcedmondson@edmolaw.com mailto:jcedmondson@edmolaw.com
             > > > Cc: John Atkin ; Jeremy Roller ; Brianna Show
             > > > Subject: RE: Subpoena to IPP
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             > > > Chris,
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             > > > Our call w/ Lincoln is at 11am, can you still make 1130-1200? - Curt
             >>>
             > > > J. Curtis Edmondson, Patent Attorney, Edmondson IP Law
             > > > Venture Commerce Center, 3699 NE John Olsen Ave, Hillsboro OR 97124
             > > > ph: (503) 336-3749 | fax: (503) 482-7418 | jcedmondson@edmolaw.com mailto:jcedmondson@edmolaw.com
             | www.edmolaw.com https://urldefense.proofpoint.com/v2/url?u=http-3A__www.edmolaw.com&d=DwMGaQ&




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                          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 44 of 46


             c=euGZstcaTDllvimEN8b7jXrwqOf-v5A_CdpgnVfiiMM&
             r=ou98Vp0UvCvCAG7ncIukQuOB8GANDSEGzXgHglg9LYQ&
             m=KbypqETH9iUj7PlhQC3DpZnp3GO2TZ4bKioCU1loEug&
             s=NbO1mAxp7khcI3AMw4HqH4CN0bI3Zn4CVCog2hzwpp4&e=
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             PE 13377 | WA PE 43728
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             > > > > On June 17, 2019 at 9:32 PM "F. Christopher Austin" wrote:
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             > > > > Curtis:
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             > > > > 11 AM is fine. I’ll look for your call then.
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             > > > > Chris
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             > > > > F. Christopher Austin
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             > > > > Weide & Miller, Ltd.
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             c=euGZstcaTDllvimEN8b7jXrwqOf-v5A_CdpgnVfiiMM&
             r=ou98Vp0UvCvCAG7ncIukQuOB8GANDSEGzXgHglg9LYQ&
             m=KbypqETH9iUj7PlhQC3DpZnp3GO2TZ4bKioCU1loEug&s=C_s5ke-Zwmb25O_mxRb9o_MDZq1tCUh4-
             YlBX7uocQs&e=
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                          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 45 of 46


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             > > > > From: J. Curtis Edmondson
             > > > > Sent: Monday, June 17, 2019 6:11 PM
             > > > > To: F. Christopher Austin ; Adrienne McEntee ; Lincoln Bandlow ; dn@newmanlaw.com
             mailto:dn@newmanlaw.com ; rachel@newmanlaw.com mailto:rachel@newmanlaw.com ;
             jcedmondson@edmolaw.com mailto:jcedmondson@edmolaw.com
             > > > > Cc: John Atkin ; Jeremy Roller ; Brianna Show
             > > > > Subject: RE: Subpoena to IPP
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             > > > > Chris,
             >>>>
             > > > > Let's target 11:30am - Noon. We have a meet and confer with Lincoln at 11:00 that should last around 1/2
             hour.
             >>>>
             > > > > B. Regards,
             >>>>
             > > > > J. Curtis Edmondson, Patent Attorney, Edmondson IP Law
             > > > > Venture Commerce Center, 3699 NE John Olsen Ave, Hillsboro OR 97124
             > > > > ph: (503) 336-3749 | fax: (503) 482-7418 | jcedmondson@edmolaw.com
             mailto:jcedmondson@edmolaw.com | www.edmolaw.com https://urldefense.proofpoint.com/v2/url?u=http-
             3A__www.edmolaw.com&d=DwMGaQ&c=euGZstcaTDllvimEN8b7jXrwqOf-v5A_CdpgnVfiiMM&
             r=ou98Vp0UvCvCAG7ncIukQuOB8GANDSEGzXgHglg9LYQ&
             m=KbypqETH9iUj7PlhQC3DpZnp3GO2TZ4bKioCU1loEug&
             s=NbO1mAxp7khcI3AMw4HqH4CN0bI3Zn4CVCog2hzwpp4&e=
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                          Case 2:17-cv-01731-TSZ Document 144 Filed 06/20/19 Page 46 of 46


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             > > This email has been scanned for spam and viruses by Proofpoint Essentials. Click here
             https://us2.proofpointessentials.com/index01.php?mod_id=11&mod_option=logitem&mail_id=1560886059-
             c90MXCXKggSn&r_address=amcentee%40terrellmarshall.com&report=1 to report this email as spam.
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7 of 7                                                                                                                           6/20/2019, 4:58 PM
